      Case 3:14-cr-00002-DHB-BKE Document 233 Filed 09/16/14 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        ) CR 314-002
                                                 )
JEROME KELLAM                                    )


                                           ORDER


       Before the Court are the various pre-trial discovery motions filed by the parties. Many (if

not all) discovery issues should be addressed in full by the Court’s rulings below and the liberal

discovery policy that the government has confirmed it is applying in this case. To the extent, if

any, either party believes there are specific inadequacies in the discovery exchanged to date that

are not addressed below, the Court directs such party to confer in good faith with the opposing

party and file, if necessary, a discovery motion and supporting brief within seven days from the

date of this Order.

                             GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with investigative reports, Defendant’s criminal

history, audio and video recordings, and other documentary materials as set forth in the First

Certificate of Disclosure. (Doc. no. 173; doc. no. 226, p. 1.) Accordingly, the Court finds that

the position of the United States Attorney in permitting liberal disclosure of the government’s
      Case 3:14-cr-00002-DHB-BKE Document 233 Filed 09/16/14 Page 2 of 7




file pertaining to this case renders the general discovery requests MOOT. (Doc. no. 197.)

                             MOTION FOR DISCLOSURE OF
                       EXCULPATORY AND IMPEACHING MATERIAL

        Defendant seeks the disclosure of exculpatory and impeaching information in accordance

with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972). (Doc. no. 198.) To some extent, Defendant’s requests exceed the scope of the

requirement in Brady for government disclosure of information that is favorable to a defendant

and material to the issues of guilt or punishment. Brady, 373 U.S. at 87; United States v. Agurs,

427 U.S. 97 (1976). The Court GRANTS the motion to the extent that the government must

provide all Brady material to Defendant within five days of the date it is received or its existence

becomes known. The government must disclose impeaching information not less than fourteen

days prior to trial.

                   MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

        The Court GRANTS this motion. (Doc. no. 200.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

                          MOTION FOR A BILL OF PARTICULARS

        Defendant is charged with one count of Conspiracy to Possess with Intent to Distribute

and to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846, and

three counts of Use of a Communication Facility in committing, causing, and facilitating the

charged conspiracy, in violation of 21 U.S.C. § 843(b). Defendant filed this motion seeking

from the government information concerning the exact time, date and place the alleged crimes as


                                                   2
      Case 3:14-cr-00002-DHB-BKE Document 233 Filed 09/16/14 Page 3 of 7




set forth in the indictment occurred; whether Defendant is charged as an aider or abettor, or a

principal, and if as an aider and abettor, how he aided and abetted the alleged offenses in the

indictment; the exact manner in which Defendant is alleged to have participated in the charged

conspiracy; the places at which each overt act on which the prosecution intends to rely at trial

were allegedly performed; the specific nature of the acts Defendant is alleged to have personally

performed; the identification of all of the persons present during each of the acts allegedly

performed; the names of all witnesses who testified before the Grand Jury whether or not each

witness testified from personal knowledge or through hearsay; whether the government obtained

any information concerning the matters alleged in the indictment by means of electronic listening

devices, wiretaps, telephonic tapes or other forms of electronic surveillance, and if so, the

circumstances in each instance, giving the date, time, place and means used in obtaining such

information; whether any leads or evidence procured by the government resulted from any

search of any premises, personal property or vehicles owned by Defendant; whether the

government performed or caused to be performed any scientific tests in connection with the

matters in the indictment; the identity of “others” wherever set forth in the indictment; and, the

identity of any unindicted co-conspirators or co-racketeers known to the government. (Doc. no.

201, pp. 1-3.)

       Rule 7(f) of the Federal Rules of Criminal Procedure provides that a defendant may seek

from the Court a bill of particulars setting forth the time, place, manner, and means of

commission of the crime alleged in the indictment. The purpose of the bill of particulars is to

give notice of the offenses charged in the indictment so that a defendant may prepare a defense,

avoid surprise, or raise pleas of double jeopardy when the indictment itself is too vague for such

                                                 3
      Case 3:14-cr-00002-DHB-BKE Document 233 Filed 09/16/14 Page 4 of 7




purposes. United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986) (quoting United

States v. Cole, 755 F.2d 748, 760 (11th Cir. 1985)). Where necessary, the bill of particulars

supplements the indictment by providing the accused with information necessary for trial

preparation. Id. Generalized discovery is not a proper purpose in seeking a bill of particulars.

United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985) (quoting United States v. Colson,

662 F.2d 1389, 1391 (11th Cir. 1981)). Nor is it a device intended to secure for the defense the

government’s explanation of its theory of the case. United States v. Hajecate, 683 F.2d 894, 898

(5th Cir. 1982). Absent a showing that a defendant cannot prepare a defense without the

government providing the identity or identities of an unindicted co-conspirator(s), such

information need not be revealed in response to a motion for a bill of particulars. Warren, 772

F.2d at 837.

       The determination of whether a bill of particulars should be ordered may only be decided

in light of the particular circumstances of each case. United States v. Davis, 582 F.2d 947, 951

(5th Cir. 1987). The question is committed to the sound discretion of the trial court whose

decision will be reversed only where denial of the motion results in surprise to a defendant at

trial resulting in prejudice to his substantial rights. United States v. Hawkins, 661 F.2d 436, 451-

52 (5th Cir. Unit B Nov. 1981). The indictment in the case is specific and supports each of the

requisite elements of the charged offenses. In addition, the government has provided liberal

discovery consisting of investigative reports, Defendant’s criminal history, audio and video

recordings, and other documentary materials as set forth in the First Certificate of Disclosure

(doc. no. 173). Because the government appears to have provided all information essential for

trial preparation by the defense, the Court DENIES Defendant’s motion. (Doc. no. 201.)

                                                 4
      Case 3:14-cr-00002-DHB-BKE Document 233 Filed 09/16/14 Page 5 of 7




                MOTION FOR NOTICE BY THE GOVERNMENT OF THE
               INTENTION TO RELY UPON OTHER CRIMES EVIDENCE
                 PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)

       Defendant seeks notice of the government’s intention to use at trial evidence of “other

crimes, wrongs or acts” under Fed. R. Evid. 404(b). This motion is MOOT (doc. no. 202)

because the Court, in its Arraignment Order, directed the government to provide such notice in

accordance with the Local Rules.

                   MOTION FOR LIST OF GOVERNMENT WITNESSES

       Defendant requests an order directing the government to furnish a complete list of

witnesses. In non-capital cases such as this case, a defendant is generally not entitled to a list of

government witnesses. United States v. Massell, 823 F.2d 1503, 1509 (11th Cir. 1987); United

States v. Johnson, 713 F.2d 654, 659 (11th Cir. 1983); United States v. Colson, 662 F.2d 1389,

1391 (11th Cir. 1981). While this Court retains the right to exercise its discretion in permitting

Defendant to have access to a list of government witnesses, at most the government would be

required to comply with this request not more than fourteen days prior to trial. Therefore, the

Court DENIES this motion. (Doc. no. 203.) However, as a practical matter, it would appear

that Defendant will be receiving much of this information because of the government’s liberal

discovery policy and because of the government’s obligation to disclose material pursuant to the

Jencks Act and/or Brady v. Maryland, 373 U.S. 83 (1963).

                       MOTION FOR PRE-TRIAL JAMES HEARING

       Defendant moves for a pre-trial hearing to determine the admissibility of out-of-court

statements by alleged co-conspirators. To lay the proper foundation for admission of a co-

conspirator statement pursuant to Federal Rule of Evidence 801(d)(2)(E) and under the standard

                                                  5
      Case 3:14-cr-00002-DHB-BKE Document 233 Filed 09/16/14 Page 6 of 7




enunciated in United States v. James, 590 F.2d 575, 582 (5th Cir. 1978) ( en banc), “the

government must establish by a preponderance of the evidence: (1) that a conspiracy existed, (2)

that the defendant and the declarant were members of the conspiracy, and (3) that the statement

was made during the course and in furtherance of the conspiracy.” United States v. Harrison,

246 F. App’x 640, 651 (11th Cir. 2007). However, as the trial court may consider both co-

conspirator statements and independent external evidence in making a determination on

admissibility, a pre-trial determination under James is not required. United States v. Magluta,

418 F.3d 1166, 1177-78 (11th Cir. 2005); United States v. Van Hemelryck, 945 F.2d 1493, 1497-

98 (11th Cir. 1991). Thus, the required finding need not be made pre-trial and can be made at

the close of the government’s case in chief. United States v. Johnson, No. 2:12cr84-MHT, 2012

WL 5392267, at *2 (M.D. Ala. Nov. 5, 2012) (citing United States v. Sanchez, 722 F.2d 1501,

1507 (11th Cir. 1984)). Indeed, the Supreme Court has ruled that a trial court may examine

hearsay statements prior to admission when making a preliminary factual determination under

Rule 801(d)(2)(E) and further explained, “the judge should receive the evidence and give it such

weight as his judgment and experience counsel.” Bourjaily v. United States, 483 U.S. 171, 181

(1987) (citation omitted).

       As the need for a James hearing is lessened in light of Bourjaily, and in the interest of

judicial economy, this determination will be made at trial. Therefore, the Court DENIES the

motion for a pre-trial James hearing. (Doc. no. 204.)

          MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIAL

       The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant with

statements of witnesses immediately following their testimony in court. There is no authority for

                                                6
      Case 3:14-cr-00002-DHB-BKE Document 233 Filed 09/16/14 Page 7 of 7




the Court to grant an early release or disclosure of that material. United States v. Schier, 438

F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215, 1251 & n.78 (11th

Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir. 1980). Yet because the

government does not oppose the motion and early disclosure of Jencks Act material will avoid

unnecessary delay and inconvenience to the Court and jury, the government is INSTRUCTED

to provide Jencks Act material fourteen days prior to trial. (Doc. no. 205.)

                         MOTION FOR RECIPROCAL DISCOVERY

       The government seeks reciprocal discovery from Defendant under Rule 16(b) of the

Federal Rules of Criminal Procedure, including a written summary of any evidence Defendant

intends to offer under Fed. R. Evid. 702, 703, or 705. In light of the government’s willingness to

provide liberal discovery and the unopposed nature of the request, the Court GRANTS this

motion (doc. no. 225), and any information not yet furnished shall be provided to the

government no later than fourteen days prior to trial.

       SO ORDERED this 16th day of September, 2014, at Augusta, Georgia.



                                                                4. k ~
                                                               BRIAN K EFik
                                                                               ,,




                                                               UNITED STATES MAGISTRATE JUDGE
                                                               SOUTHERN DISTRICT OF GEORGIA




                                                  7
